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                                    Tuesday, September 27, 2022

 The Honorable Lawrence E. Kahn
 US District Court
 Northern District of New York
 James M. Hanley Federal Building & U.S.
 Courthouse
 100. S. Clinton St
 Syracuse, NY 13261

      Reference: Rose DeGroat v. Benjamin Buck, et al., Index No. 3:22-CV-507
                  First request to extend the time to file a response

Dear Judge Kahn:
       The defendants have filed a Rule 12 (b)(6) motion to dismiss and Monday, October
3 has been established as the response filing date. I respectfully request an extension of
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time to December 1st from October 3rd to file a response and an extension of time to
December 9th from October 11th for defendants to file a reply to our response. On Monday,
September 26th I spoke with Attorney Molly Ryan, attorney for the defendants and
Attorney Ryan does not object to this request.
       May I please know the Court's pleasure?

Respectfully Submitted,




Edward E. Kopko
EEK/knd

cc: Molly Ryan, Esq. (via ECF)
